     2:16-cr-20394-SFC-APP     Doc # 125   Filed 05/03/18   Pg 1 of 2   Pg ID 2915



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

United States of America,

        Plaintiff,
                                              Criminal No. 16-cr-20394
v.
                                              Honorable Sean F. Cox
D-2 Richard Dorenkamp
D-3 Heinz-Jakob Neusser
D-4 Jens Hadler
D-5 Bernd Gottweis
D-7 Jürgen Peter, and
D-9 Martin Winterkorn,

        Defendants.



      GOVERNMENT’S MOTION, SUPPORTING BRIEF AND ORDER
     TO UNSEAL FIFTH SUPERSEDING INDICTMENT AND ARREST
                          WARRANT


     The United States of America hereby moves for an order unsealing the Fifth

Superseding Indictment and the Arrest Warrant for defendant Martin Winterkorn

in this case, and states:

        1. The Indictment in this case charges the defendants with one or more

           federal crimes.

        2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure, which

           authorizes this Court to seal indictments, implicitly authorizes this

           Court to unseal indictments.
   2:16-cr-20394-SFC-APP     Doc # 125   Filed 05/03/18   Pg 2 of 2   Pg ID 2916



      3. The government requests that the Fifth Superseding Indictment and

          Arrest Warrant be unsealed because there is no longer a belief that

          unsealing these documents will compromise an ongoing investigation.

   WHEREFORE, the government requests this Court to issue an order unsealing

the Indictment and Arrest Warrant.

                                            Respectfully submitted,

                                            Matthew Schneider
                                            United States Attorney


                                            /s/ John K. Neal
                                            John K. Neal
                                            Assistant United States Attorney
                                            211 W. Fort Street, Suite 2001
                                            Detroit, MI 48226
                                            John.Neal@usdoj.gov
                                            (313) 226-9644


Dated: May 3, 2018



   IT IS SO ORDERED.



                                            s/Elizabeth A. Stafford
                                            Elizabeth A. Stafford
                                            United States Magistrate Judge

Entered: 5/3/2018
